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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                     IN THE UNITED STATES DISTRICT COURT               December 16, 2020
                     FOR THE SOUTHERN DISTRICT OF TEXAS                 David J. Bradley, Clerk
                              HOUSTON DIVISION



ENERGY INTELLIGENCE GROUP, INC.             §
and ENERGY INTELLIGENCE GROUP               §
(UK) LIMITED,                               §
                                            §
                     Plaintiffs,            §
                                            §
v.                                          §      CIVIL ACTION NO. H-14-1903
                                            §
KAYNE ANDERSON CAPITAL                      §
ADVISORS, LP and KA FUND                    §
ADVISORS, LLC,                              §
                                            §
                     Defendants.            §


                           MEMORANDUM OPINION AND ORDER


       Energy Intelligence Group, Inc. and Energy Intelligence Group

(UK) Limited (together, "Plaintiffs" or "EIG") sued Kayne Anderson

Capital        Advisors,    LP   and   KA   Fund    Advisors,   LLC   (together,

"Defendants" or "Kayne") for violations of the Copyright Act, 17

U.S.C.     §   106, and the Digital Millennium Copyright Act ("DMCA"), 17

U.S.C.     §§   1202-03.    Pending before the court are EIG's Motion for

Entry of Judgment Pursuant to Rule                  58 (d)   ("EIG's Motion for

Judgment")        (Docket Entry No. 413),          Defendants' Kayne Anderson

Capital Advisors, L.P. and KA Fund Advisors, LLC's Motion to Enter

Judgment Following Remand ("Kayne's Motion for Judgment") (Docket

Entry No. 414), and Kayne's request, in the alternative, that the

court order a new trial on damages.1            For the reasons stated below,


      Memorandum of Law in Support of Defendants Kayne Anderson
       1

Capital Advisors, L.P. and KA Fund Advisors, LLC's Motion to Enter
                                                    (continued ... )
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the parties' cross-motions for entry of judgment will be denied,

Kayne's request for a new trial on damages will be granted, the

parties will be ordered to file a Joint Pretrial Order by March 5,

2021, and Docket Call will be held on March 12, 2021, at 3:00 p.m.

in Courtroom 9B of the Federal Courthouse in Houston, Texas.


                               I.   Background

     A detailed history of the parties' relationship as related to

this case is provided in a prior opinion. 2         In short, EIG alleged

that Kayne      copied   and   distributed   Oil   Daily,   a   subscription

newsletter published by EIG,         in violation of the subscription

agreements. 3    From at least 2004 to 2013 Kayne purchased a single

annual subscription to Oil Daily for Kayne employee, Jim Baker.

That subscription was routinely forwarded to non-subscribers.               In

2013 Kayne entered into a multi-user license agreement with EIG for

five Kayne employees to receive Oil Daily.           But EIG alleged that

Kayne continued to distribute Oil Daily to non-subscribers until at


     1( ••• continued)
Judgment Following Remand ("Kayne's Memorandum in Support of Motion
for Judgment"), Docket Entry No. 415, pp. 11 and 21.     See also,
Reply in Support of Defendants' Motion to Enter Judgment ("Kayne's
Reply in Support of Motion for Judgment"), Docket Entry No. 420,
p. 9. Page numbers for docket entries in the record refer to the
pagination inserted at the top of the page by the court's
electronic filing system.
     2
         Memorandum Opinion and Order, Docket Entry No. 68.
     3
      Plaintiffs'   Second   Amended   Complaint    for   Copyright
Infringement,   Contributory Copyright Infringement,      Vicarious
Copyright Infringement, and Violation of the Integrity of Copyright
Management Information, Docket Entry No. 38.
                                     -2-
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least May 21, 2014.        On July 8, 2014, EIG filed this action for
copyright infringement and DMCA violations.
      In December of 2017 the court conducted a four-day jury
trial. 4     With respect to EIG' s copyright claims, the jury found
that Kayne infringed 1,646 individual Oil Daily works between
December 29, 2004, and July 8, 2014, and awarded $15,000.00 in
statutory damages for each work infringed.5              The jury also found
that EIG failed to mitigate their damages and could have avoided
1,607 acts of infringement had reasonable diligence been used to
mitigate their damages.6         The court awarded EIG nothing for the
violations that the jury found could have been avoided, and $15,000
for each of the 39 copyright infringements that the jury found
could not have been avoided for a total award of $585,000.                With
respect      to   EIG's   DMCA   claims,    the   jury   found    that    Kayne
intentionally removed or altered copyright management information
for Oil Daily a total of 425 times having reasonable grounds to
know that their actions would induce, enable, facilitate, or
conceal copyright infringement. 7          The jury awarded EIG $2,500 in
statutory damages for each of Kayne's 425 DMCA violations. 8                The


     4
      Courtroom Minutes for the four-day             trial,      Docket   Entry
Nos. 261, 264, 267, 269.
      5
          Verdict, Docket Entry No. 271, p. 1, Questions 1 and 2.
      6
          Id. at 2, Questions 6-7.
     7
          Id. at 2-3, Questions 8 and 10.
      8
          Id. at 4, Questions 14 and 15.
                                     -3-
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jury also found that EIG failed to mitigate their DMCA damages, 9

and that all 425 DMCA violations could have been avoided had

reasonable diligence been used to mitigate damages. 10         Based on the

Copyright Act's and DMCA's fee-shifting provisions, as well as

Kayne's motion pursuant to Federal Rule of Civil Procedure 68, the

court awarded EIG $2,600,000 in attorney's fees and $21,000 in

costs.      Because prior to trial, EIG rejected Kayne's offer to

settle for $5,000,000, the court calculated costs and attorney's

fees by awarding EIG pre-offer costs and attorney's fees, and then

subtracting Kayne's post-offer costs from EIG's award.

     Both the parties appealed and their appeals were consolidated.

EIG argued one issue on appeal:       whether failure to mitigate is a

complete defense to liability for statutory damages under the

Copyright Act and the DMCA.        EIG argued that failure to mitigate

cannot preclude liability altogether and urged the Fifth Circuit to

award it $25,752,500 ($15,000 for each of 1,646 works infringed,

plus $2,500 for each of 425 DMCA violations).        Kayne countered that

mitigation is a complete defense to liability and .that the court's

award of $585,000 in statutory damages was appropriate.

     Kayne argued two issues on appeal:            ( 1) whether the court

erred in denying its § 411 motion for referral to the Copyright



     9
         Id. at 3, Question 13.
     10
          rd. at 4, Question 14.

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Register, and (2) whether it was entitled to post-offer attorney's

fees under Rule 68. The Fifth Circuit held that (1) the failure to

mitigate is not a complete defense to copyright or DMCA claims for

statutory damages;     (2) the court properly denied Kayne's          §    411

referral motion; and (3) the court properly denied Kayne's motion

for post-offer attorney's fees under Rule 68.        Energy Intelligence

Group, Inc. v. Kayne Anderson Capital Advisors, L.P., 948 F.3d 261,

265 (5th Cir. 2020).     The Fifth Circuit held that

     [r] emand is necessary to determine copyright damages
     because we cannot determine whether the jury intended to
     award EIG $15,000 per infringed work. Remand is also
     necessary to re-calculate appropriate awards, attorney's
     fees, and costs. If total damages ultimately amount to
     more than $5 million ( [Kayne] 's Rule 68 offer), [Kayne]
     may no longer be eligible to recover post-offer costs.

Id. at 265-66.    The Fifth Circuit explained that

     [t] he district court incorrectly instructed the jury that
     EIG could "not recover for any item of damage that they
     could have avoided through reasonable effort."      It is
     difficult to ascertain from the record whether the jury
     would still have awarded $15,000 per infringed work if it
     had instead been properly instructed on the issue of
     mitigation. Therefore, the judgment must be vacated and
     the case remanded to determine the proper statutory
     damages for each of the 1,646 infringed works.

Id. at 280.      Observing that "[a] s to the DMCA violations, the

parties agree that if mitigation is not a complete defense, the

court should enter judgment for EIG," id. at 280-81, the Fifth

Circuit stated, "we enter judgment in favor of EIG in the amount of

$2,500 for each of [Kayne] 's 425 DMCA violations, or $1,062,500."

Id. at 281.

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                II.     Cross-Motions for Entry of Judgment

     Citing Federal Rule of Civil Procedure 58(d), EIG moves the

court to enter judgment "in favor of EIG against [Kayne]                    for

copyright infringement in the amount of             $15,000 in statutory

damages for each of the           1,646 works infringed by Kayne, or

$24,690,000."11        EIG also moves the court to enter judgment in its

favor against Kayne for violations of the DMCA in the amount of

$2,500 for each of Kayne's 425 DMCA violations, or $1,062,500, and

for costs and fees as later determined by the Court pursuant to

Fed. R. Civ. P. 54(d) and 17 U.S.C. § 505.12        Asserting that "[t]he

legal issue of the application of the jury's factual mitigation

findings on EIG's ultimate recovery was overturned by the Fifth

Circuit, but the amount of damages for each infringed work was not

affected by the panel's decision,"13 and that "Kayne never appealed

or requested reconsideration of the jury's verdict of $15,000 award

per infringed work and is precluded from doing so now,"14 EIG argues

that "[t] he jury's $15,000 award for each work infringed is a

reliable measure of damages.        The Court should give effect to the



     11EIG's Motion for Judgment, Docket Entry No. 413, p. 1. See
also Plaintiff's Reply Memorandum in Support of Motion for Entry of
Judgment Pursuant to Rule 58(d) ("EIG's Reply in Support of Motion
for Judgment"), Docket Entry No. 421, pp. 5-7.
     12
          EIG's Motion for Judgment, Docket Entry No. 413, p. 1.
     13
          Id. at 10.


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jury's verdict by entering judgment .                    in favor of EIG in the
amount of $15,000 for each of the 1,646 infringed works."15                   EIG
argues that any effort by Kayne to claim prejudice from awarding it
$15,000 for each of the 1,646 infringed works is foreclosed by
Kayne's failure to challenge that amount on appeal. 16

      Acknowledging that EIG is "not barred from recovering damages
due to their failure to mitigate 1,607 of the violations,"17 and
asserting that "[t]here is no dispute that the proper damages for
the first 39 copyright works is $15,000 per infringed work,"18 Kayne
moves the court "to give effect to the jury's intent and to adjust
the award of damages for the 1,607 violations that could have been
mitigat[ed] from no recovery to the statutory minimum of $750. "19
Alternatively, "Kayne moves pursuant to Rule 59 for a new damages
trial        as   consistent   with   the   scope   of    the   Fifth   Circuit's

mandate . "20


      Id. at 11.
        15
                   See also EIG's Reply in Support of Motion for
Judgment, Docket Entry No. 421, pp. 5-14.
      16
             Id. at 12.
      Kayne's Memorandum in Support of Motion for Judgment, Docket
      17

Entry No. 415, p. 6.
      18
             Id. at 10.
      19Id.

      Id. at 11. See also id. at 21 (same); and Kayne's Motion for
      20

Judgment, Docket Entry No. 414, p. 1 ( "Kayne requests, for the
reasons set for in the accompanying memorandum of law, that the
Court give effect to the jury's intent and the Fifth Circuit's
instructions and enter judgment as requested therein.").
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A.     Applicable Law

       The Fifth Circuit has held that " [t]he mandate rule requires

a district court on remand to effect our mandate and to do nothing

else."      Deutsche Bank National Trust Co; v. Burke, 902 F.3d 548,

551    (5th   Cir.    2018)   (per   curiam)   (quoting   General   Universal

Systems, Inc. v. HAL, Inc., 500 F.3d 444, 453 (5th Cir. 2007)).

"Because the mandate rule is a corollary of the law of the case

doctrine, it 'compels compliance on remand with the dictates of a

superior court and forecloses relitigation of issues expressly or

impliedly decided by the appellate court.'"            Id. (quoting General

Universal Systems, 500 F.3d at 453).           "In implementing the mandate,

the district court must 'tak[e] into account the appellate court's

opinion and the circumstances it embraces.'"           United States v. Lee,

358 F.3d 315,        321 (5th Cir. 2004) (quoting Sobley v. Southern

Natural Gas Co., 302 F.3d 325, 333 (5th Cir. 2002)).

       Rule 58(d) on which EIG bases its Motion for Judgment merely

states that "[a] party may request that judgment be set out in a

separate document as required by Rule 58(a)."               Fed. R. Civ. P.

58(d).

       Rule 50, on which Kayne bases its Motion for Judgment, governs

Judgment as a Matter of Law.          Since filing its motion, Kayne has

"apologize[d] for the procedural confusion and the citation to

Rule 50, " 21 and clarified that it "requests entry of judgment on


      Reply in Support of Defendants' Motion to Enter Judgment,
       21

Docket Entry No. 420, p. 4.
                                       -8-
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jury's verdict, not judgment as a matter of law."22           Alternatively,

citing Rule 59, Kayne requests a new trial on damages. 23.

       Federal Rule of Civil Procedure 59 provides that a district

court may grant a new trial "on all or some of the issues .

after a jury trial, for any reason for which a new trial has

heretofore been granted in an action at law in federal court."

Fed.       R.   Civ. P. 59 (a) (1) (A).     Although   Rule 59 (a)   does not

enumerate grounds for a new trial, a district court may grant a new

trial if the court finds that the verdict is against the weight of

the evidence, the damages awarded are excessive or inadequate, the

trial was unfair, or prejudicial error was committed in its course.

See Wellogix, Inc. v. Accenture, L.L.P., 716 F.3d 867, 881 (5th

Cir. 2013), cert. denied, 134 S. Ct. 2725 (2014).             See also Smith

v. Transworld Drilling Co., 773 F.2d 610, 613 (5th Cir. 1985) ("A

new trial may be granted, for example, if the district court finds

   . prejudicial error was committed in its course."). A district

court "'should not grant a new trial on evidentiary grounds unless

the verdict is against the great weight of the evidence,'" not

merely against the preponderance of the evidence.           Carr v. Wal-Mart

Stores, Inc., 312 F.3d 667, 670 (5th Cir. 2002).

       A new trial must be granted when the court is unable to

reconcile inconsistent answers to special interrogatories.                  See


       22Id.



      Id. at 9; see also Kayne's Memorandum in Support of Motion
       2
           3

for Judgment, Docket Entry No. 415, pp. 11 and 21.
                                      -9-
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Willard v. The John Hayward, 577 F.2d 1009, l0li (5th Cir. 1978)

(per curiam) ( "If the jury gives inconsistent answers to special

interrogatories, the case must be remanded for a new trial .

only if there is no way to reconcile them.").            But, in keeping with

the "'federal policy favoring jury decisions of disputed fact

questions'" embodied in the Seventh Amendment, before ordering a

new   trial   the    court   "'must   attempt    to    reconcile       the   jury's

findings,     by exegesis if necessary.'"             Carr,   312 F.3d at 672

(citing Ellis v. Weasler Engineering Inc., 258 F.3d 326, 343 (5th

Cir. 2001)).       "[T]he court must view the evidence in the light most

favorable     to    upholding   the   jury's   decision       by   a   finding   of

consistency."       Ellis, 258 F.3d at 343.      In reconciling an apparent

conflict, the court must determine whether "'the answers may fairly

be said to represent a logical and probable decision on the

relevant issues as submitted.'"         Id. (quoting Griffin v. Matherne,

471 F.2d 911, 915 (5th Cir. 1973)).            When necessary a court looks

beyond the questions themselves and to the court's instructions.

Alverez v. J. Ray McDermott       &   Co., Inc., 674 F.2d 1037, 1040 (5th

Cir. 1982).     The decision to grant or deny a motion for a new trial

is within the sound discretion of the trial court.                 See Carr, 312

F.3d at 670.

      "Partial new trials should not be resorted to 'unless it

appears that the issue to be retried is so distinct and separable

from the others that a trial of it alone may be had without

injustice.'"       Anderson v. Siemens Corp., 335 F.3d 466, 475-76 (5th

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Cir. 2003) (quoting Caskey v. Village of Wayland, 375 F.2d 1004 (2d

Cir. 1967) (quoting Gasoline Products Co. v. Champlin Refining Co.,

51 S. Ct. 513 (1931))).         A jury's finding as to liability can be

binding even though its monetary award is found to be excessive or

improperly influenced. Edwards v. Sears, Roebuck and Co., 512 F.2d

276, 282      (5th Cir. 1975)     ("If the passion, prejudice, caprice,

undue sympathy, arbitrariness or more taints only the damage award

and    not   the   liability   assessment,       the   proper   response    is   a

remittitur or a new trial addressed to damages alone.") (citing

Pingatore v. Montgomery Ward         &   Co., 419 F.2d 1138, 1142-43 (5th

Cir. 1969), cert. denied, 90 S.                Ct. 1818    (1970)    (substantial

evidence supported jury verdict on liability, but grossly improper

argument required new trial as to damages)).


B.     Analysis

       After observing that "[m] itigation applies to post-injury

consequential damages. . .         [and that t]he doctrine of mitigation

provides little support for [Kayne] 's contention that EIG could not

recover statutory damages for infringement that EIG failed to

reasonably prevent," Energy Intelligence Group, 948 F.3d at 274,

and    holding     that   "mitigation    is    not   an   absolute   defense to

statutory damages under the Copyright Act" and that this court

"erred when it ruled otherwise," id. at 275, the Fifth Circuit

vacated the judgment and remanded the case to this court "to

determine the proper statutory damages for each of the 1,646

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infringed works."        Id. at 280.       The cross-motions for entry of

judgment urge the court to determine the proper statutory damages

for each of the 1,646 infringed works based on the jury's answers

to questions on the verdict form.


        1.     Kayne's Motion for Judgment

        Kayne asks the court to enter judgment for it in the amount of

$15,000 for each of the 39 infringements that the jury found EIG

could not have avoided with reasonable diligence, and in the amount

of the statutory minimum, i.e., $750, for each of the 1,607

infringed works that the jury found EIG could have avoided with

reasonable      diligence. 24     Kayne argues    that   because    the court

instructed the jury that "'Plaintiffs may not recover for any item

of    damage    that   they     could   have   avoided   through   reasonable

effort,'"25 and that "you should deny them recovery for those


      Kayne's Memorandum in Support of Motion for Judgment, Docket
        24

Entry No. 415, pp. 6, 8, 10, 18, 20-21.
      Id. at 14 (quoting Court's Instructions to the Jury, Docket
        25

Entry No. 270, p. 12). See also Defendants' Response to Motion for
Entry of Judgment Pursuant to Rule 58 (d) ("Kayne's Response to
EIG's Motion for Judgment"), Docket Entry No. 416, p. 4 ("The
parties' primary disagreement in the competing motions is about the
amount the jury intended to award for 1,607 of the 1,646 copyright
violations that the jury found [could have been avoided with
reasonable diligence]. There is no dispute that the jury intended
to award $15,000 per violation for the other 39 violations. The
jury found there were two categories of copyright violations and
that damages were unavailable for the category with 1,607
violations that could have been avoided through mitigation. But
the Fifth Circuit then held that, while mitigation was .a proper
consideration for the amount of statutory damages to be awarded,
                                                     (continued... )
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damages that they would have avoided had they taken advantage of
the opportunity," 26 that by finding there were 1,607 copyright
violations that EIG could have mitigated, "the jury believed it was
           award [ing] $0 in damages for the 1,607 violations that
Plaintiffs failed to mitigate." 27        Kayne argues that
      [i]t is . . . illogical to argue (as Plaintiffs . . . do)
     that the jury found that some violations could have been
     mitigated but still have awarded the same amount for each
     of the 1,646 violations when it was specifically
     instructed to consider mitigation in calculating that
     amount for "each" violation. The jury was not told to
     average out the statutory damage amount over the total
     violations but instead to make a determination for "each"
     violation. There simply was no need for the jury in
     response to Interrogatory No. 1 to list a separate amount
     of damages for each of the violations that Plaintiffs
     failed to mitigate because the jury effectively listed
     that separate amount        ($0) with its answer to
     Interrogatory No. 6.28
     Kayne cites Robert Stigwood Group Ltd. v. O'Reilly, 530 F.2d
1096, 1105 (2d Cir. 1976), and D.C. Comics Inc. v. Mini Gift Shop,
912 F.2d 29, 37 (2d Cir. 1990), as cases in which courts have


     25
           continued)
          ( •••

mitigation was not a complete bar to liability for statutory
damages. . . . As also detailed in [the] motion [for judgment], it
is clear that the jury intended to award the minimum amount of
damages available for the 1,607 copyright violations that it found
EIG could have avoided and mitigated. To give effect to the jury's
intent to award zero or minimum damages on these violations, this
Court should enter judgment in the amount of the statutory minimum
for those 1,607 violations: $750 per violation.).
      Kayne's Memorandum in Support of Motion for Judgment, Docket
     26

Entry No. 415, p. 14 (quoting Court's Instructions to the Jury,
Docket Entry No. 270, p. 13).
     27
          Id. at 15.


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corrected statutory damage awards that were initially below the

minimum amount by increasing the amount to the statutory minimum.29
     EIG responds that there is no conflict or inconsistency in the
jury's verdict, that awarding an amount of statutory damages other
than what the jury decided would be both arbitrary and capricious
and a violation of EIG's Seventh Amendment right to have a jury
decide the amount of statutory damages, and that pursuant to the
Fifth Circuit's opinion in this case, neither Kayne's mitigation
evidence nor Kayne's mitigation argument constitutes a proper
mitigation defense.30
     Kayne's reliance on Robert Stigwood, 530 F.2d at 1105, and
D.C. Comics, 912 F.2d at 37, is misplaced because, as EIG argues,
these cases "merely support the uncontroversial proposition that
the amount of statutory damages must fall within the mandatory
boundaries set by Congress." 31     Moreover, the awards of statutory
damages in both of these cases were made by the court, not by a
jury, because both cases pre-date the Supreme Court's holding in
Feltner v. Columbia Pictures Television, Inc., 118 S. Ct. 1279,
1288 (1998), that "the Seventh Amendment provides a right to a jury
trial on all issues pertinent to an award of statutory damages


     29
          Id. at 19.
      Plaintiffs' Memorandum of Law in Opposition to Defendants'
     30

Motion to Enter Judgment Following Remand, Docket Entry No. 417,
pp. 11-23.
     31
          Id. at 18.
                                   -14-
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under§ 504(c) of the Copyright Act, including the amount itself."

Kayne has failed to cite any authority in support of its argument
that this court should enter a judgment that includes an award of
$750, the minimum amount available for statutory damages, for the
1,607 copyright infringements that the jury found EIG could have

avoided with reasonable diligence, and the court is not persuaded
that it may do so without usurping the jury's role.           Accordingly,
Kayne's Motion for Judgment will be denied.

     2        EIG's Motion for Judgment and Kayne's Rule 59 Motion for
              a New Trial on Statutory Damages
     EIG asks the court to enter judgment in the amount of $15,000
for each of the 1,646 infringed works because
     [t] he legal issue of the application of the jury's
     factual mitigation findings on EIG's ultimate recovery
     was overturned by the Fifth Circuit, but the amount of
     damages for each infringed work was not affected by the
     panel's decision.   Kayne never appealed or requested
     reconsideration of the jury's verdict of $15,000 award
     per infringed work and it is precluded from doing so
     now. 32
Asserting that "[t]he jury was charged with deciding the amount of
damages for each work infringed, not with determining the effects
of any of the affirmative defenses," 33 EIG argues that
     [t]he latter, the Court made clear, are legal questions
     for the Court to decide based on the jury's factual
     findings. In Jury Note 1, the jury specifically asked
     whether the jury's mitigation findings would affect EIG's


     32
          EIG's Motion for Judgment, Docket Entry No. 413, p. 10.
     33
          Id. at 9.
                                   -15-
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     recovery. (D.E. 272). The Court's response, which both
     parties consented to, was that the jury's question
     "concern [ed] legal issues that the Court .will decide
     after you have reached your verdict."       (Id.).   Jury
     Note #1 also asked whether Kayne would be liable for the
     jury's statutory damage award (the answer to Question
     No. 1 on the verdict form) multiplied by the 1,646
     infringed works. In response, the Court instructed the
     jury to carefully read Question No. 1 on the verdict form
     and emphasized that the question asked for an amount for
     each infringed work.       (Id.)   Thus, the jury was
     instructed to fill out the questionnaire with the amount
     of damages for each infringed work without concern for
     the legal issues that the Court would decide after the
     jury made its factual determination.34
     Kayne responds that "EIG's arguments for awarding $15,000 for
each of the 1,646 violations cannot be squared with the jury's
findings"35 because "it is illogical to argue - as EIG does - 'that
the jury found that some violations could have been mitigated but
still have awarded the same amount for each of the 1,646 violations
when it was specifically instructed to consider mitigation in
calculating that amount for "each" violation. '"36 Kayne argues that
      [t]he jury addressed EIG's failure to avoid violations
     through mitigation by creating a separate category in
     answering the mitigation question that (under the
     instructions to the jury) resulted in no damages. That
     is, we know that when taking EIG's failure to mitigate
     damages into account, the jury intended to award the


      Id. at 9-10 (citing Jury Note No. 1, Docket Entry No. 272,
     34

"Does Kayne have to pay our jury money amount 1646 times. Does
Question 7 subtract the #/Fee & amount of the 164G. Will they pay
less if we say could have stopped 1607 infringements.").
      Kayne's Response to EIG's Motion for Judgment, Docket Entry
     35

No. 416, p. 7.
      Id. (quoting Kayne's Memorandum in Support of Motion for
     36

Judgment, Docket Entry No. 415, p. 15)
                                   -16-
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      minimum damages, which it believed to be zero dollars,
      for those 1,607 violations. 37
Kayne also reasserts its requests that the court grant its own
motion for judgment or, alternatively, grant its request for a new
· trial on statutory damages. 38
      Kayne's argument that the jury intended to award the minimum
amount of damages available for the 1,607 copyright violations that
it found EIG could have mitigated and avoided is not persuasive
because the court instructed the jury that "Plaintiffs may not
recover for any item of damage that they could have avoided through
reasonable effort," 39 and that "you should deny them recovery for
those damages that they would have avoided had they taken advantage
of the opportunity. 1140    The Fifth Circuit has since held that these
jury instructions were erroneous.          See Energy Intelligence Group,
948 F.3d at 274 ("Mitigation applies to post-injury consequential
damages.       The doctrine of mitigation provides little support for
 [Kayne] 's contention that EIG could not recover statutory damages
for infringement that EIG failed to reasonably prevent."), and at
275   ("We hold that mitigation is not an absolute defense to
statutory damages under the Copyright Act and the district court
erred when it ruled otherwise.").


      37
           Id. at 7-8.
      38
           Id. at 14.
      39
           Court's Instructions to the Jury, Docket Entry No. 270, p. 12.
      40
           Id. at 12-13.
                                    -17-
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       Moreover, the question posed and answered in Jury Note 1 shows
that the jury was not only concerned about the effect their answers
as to the amount of damages to be awarded for each infringement and
the number of infringements that EIG could have avoided would have
on the amount that EIG would ultimately recover, but also that the
jury    relied   on    the   court's      erroneous    mitigation-related

instructions.    Because the court's jury instructions on mitigation
were erroneous, and because Jury Note No. 1 shows that the jury
relied on the court's erroneous instructions when deciding to award
$15,000 for each violation of the            Copyright Act,      the court
concludes that the jury's award of $15,000 for each violation
rested on a mistake of law, i.e., that EIG was not entitled to
recover any damages for the 1,607 copyright violations that it
could have mitigated or avoided with reasonable effort, and that
the $15,000 awarded for each violation would only apply to the 39
copyright violations that EIG could not have mitigated or avoided
with reasonable effort.      Because the jury's award of $15,000 for
each violation rests on a mistake of law, and because "the Seventh
Amendment provides a right to a jury trial on all issues pertinent
to an award of statutory damages under § 504(c) of the Copyright
Act, including the amount itself," Feltner, 118 S. Ct. at 1288, the
court concludes that a new trial on statutory damages is not only
warranted, but also required to fulfill the Fifth Circuit's mandate
to conduct a new trial "to determine the proper statutory damages
for each of the 1,646 infringed works."       Energy Intelligence Group,

                                   -18-
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948 F.3d at 280.       See Edwards, 512 F.2d at 282 (recognizing that

when error taints a damage award, the proper response can be "a new

trial addressed to damages alone").


                       III.     Conclusions and Order

     For the      reasons stated     above,   the   court   concludes    that

fulfilling the Fifth Circuit's mandate "to determine the proper

statutory damages for each of the 1,646 infringed works," Energy

Intelligence Group, 948 F.3d at 280, requires a new trial on

statutory damages.     Accordingly, EIG's Motion for Entry of Judgment

Pursuant   to   Rule    58(d)    (Docket    Entry   No.   413)   is   DENIED;

Defendants' Kayne Anderson Capital Advisors, L. P.               and KA Fund

Advisors, LLC's Motion to Enter Judgment Following Remand (Docket

Ent�y No. 414) is DENIED; and Kayne's request for a new trial on

damages included in Docket Entry No. 415 is GRANTED.

     The Joint Pretrial Order shall be filed by March 5, 2021.

Docket Call will be held on March 12, 2021, at 3:00 p.m., in

Courtroom 9-B, Ninth Floor, United States Courthouse, 515 Rusk

Street, Houston, Texas 77002.

     The court does not desire any additional briefing on this

issue.   The parties should be prepared to discuss dates for trial

at docket call.

     SIGNED at Houston, Texas, on this 16th                             2020.




                                                    SIM LAKE
                                       SENIOR UNITED STATES DISTRICT JUDGE

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